                                EXHIBIT A




Case 1:24-cv-00710-WO-JLW   Document 146-1   Filed 06/10/25   Page 1 of 29
                 IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA




UNITED STATES OF AMERICA,


                 Plaintiff,

            v.                       Case No. 1:24-cv-00710-WLO-JLW

CORTLAND MANAGEMENT, LLC,

                 Defendant.



                              FINAL JUDGMENT

       WHEREAS, Plaintiff, United States of America, filed its

Complaint on January 7, 2025;

       AND WHEREAS, the United States and Defendant, Cortland

Management, LLC, have consented to entry of this Final Judgment

without the taking of testimony, without trial or adjudication

of any issue of fact or law, and without this Final Judgment

constituting any evidence against or admission by any party

relating to any issue of liability or any other issue of fact or

law;

       AND WHEREAS, Defendant agrees to undertake certain actions

and refrain from certain conduct to remedy the loss of

competition alleged in the Complaint;



                                  – 2 –




 Case 1:24-cv-00710-WO-JLW    Document 146-1   Filed 06/10/25   Page 2 of 29
      AND WHEREAS, Defendant represents that the relief required

by this Final Judgment can and will be made and that Defendant

will not later raise a claim of hardship or difficulty as

grounds for asking the Court to modify any provision of this

Final Judgment;

      NOW THEREFORE, it is ORDERED, ADJUDGED, AND DECREED:

I.         JURISDICTION

      The Court has jurisdiction over the subject matter of and

each of the parties to this action. The Complaint states a claim

upon which relief may be granted against Defendant under

Section 1 of the Sherman Act, 15 U.S.C. § 1.

II.        DEFINITIONS

      As used in this Final Judgment:

      A.     “Cortland” or “Defendant” means Defendant Cortland

Management, LLC, a Delaware corporation with its headquarters in

Atlanta, Georgia, its successors and assigns, and all of its

subsidiaries, divisions, groups, affiliates, parents,

partnerships, and joint ventures, and their directors, officers,

managers, agents, and employees.

      B.     “Competitively Sensitive Information” means, in this

Final Judgment, property-specific data or information (whether

past, present, or prospective) which, individually or when

aggregated with such data or information from other properties,


                                 – 3 –




 Case 1:24-cv-00710-WO-JLW   Document 146-1   Filed 06/10/25   Page 3 of 29
(1) could be reasonably used to determine current or future

rental supply, demand, or pricing at a property or of any

property’s units, including but not limited to executed rents,

rental price concessions or discounts, guest traffic, guest

applications, occupancy or vacancy, lease terms or lease

expirations; (2) relates to the Property Owner’s or Property

Manager’s use of settings or user-specified parameters within

Revenue Management Products with respect to such property or

properties; or (3) relates to the Property Owner’s or Property

Manager’s rental pricing amount, formula, or strategy, including

rental price concessions or discounts, in each case, with

respect to such property or properties.

     C.   “Cooperation Subject Matter” means Cortland’s use of

RealPage’s Revenue Management Products, the violations of only

Section 2 of the Sherman Act alleged in United States, et al. v.

RealPage, Inc., et al. (currently docketed as No. 1:24-cv-00710

in the Middle District of North Carolina) and includes conduct

as well as the effects of conduct.       Cooperation Subject Matter

expressly excludes the prohibited conduct described in

Paragraph VI.A. and any violation of Section 1 of the Sherman

Act or any similar state law.




                                 – 4 –




 Case 1:24-cv-00710-WO-JLW   Document 146-1   Filed 06/10/25   Page 4 of 29
     D.   “External Nonpublic Data” means all Nonpublic Data

from any Person other than Defendant. It does not include data

for a Cortland Property.

     E.   “Cortland Property” means a residential property,

located within the United States and its territories, owned or

managed by Defendant or its agents (collectively referred to as

“Cortland Properties”).

     F.   “Cortland Revenue Management Product” means Cortland’s

internal proprietary revenue management software product that

was in place as of January 1, 2025, and that has been under

development since 2020.

     G.   “Nonpublic Data” means any Competitively Sensitive

Information that is not Public Data.

     H.   “Person” means any natural person, corporate entity,

partnership, association, joint venture, limited liability

company, fund, investment vehicle, or any other legal entity or

trust.

     I.   “Property Owner(s)” means any Person who owns a

multifamily rental property or that Person’s agent.

     J.   “Property Manager(s)” means any Person, or the

Person’s agent, who manages a multifamily rental property.




                                 – 5 –




 Case 1:24-cv-00710-WO-JLW   Document 146-1   Filed 06/10/25   Page 5 of 29
     K.     “Pseudocode” means any description of the steps in an

algorithm or other software program in plain or natural

language.

     L.     “Public Data” means information on a rental unit’s

asking price (including publicly offered rental price

concessions) that is readily accessible to the general public on

the property’s website, physical building, brochures, or on an

internet listing service. Public Data includes information on a

rental unit’s asking price, concessions, amenities, and

availability provided by a Property Manager or a Property Owner

to any natural person who reasonably presents himself as a

prospective renter. Public Data does not include any

Competitively Sensitive Information obtained through

communications between competitors.

     M.     “RealPage” means RealPage, Inc., a Delaware

corporation with its headquarters in Richardson, Texas.

     N.     “Revenue Management Product(s)” means any software or

service, including software as a service, that sets rental

prices or generates rental pricing recommendations.

     O.     “Runtime Operation” means any action taken by a

Revenue Management Product while it runs, including generating

rental prices or pricing recommendations for any units or set of




                                 – 6 –




 Case 1:24-cv-00710-WO-JLW   Document 146-1   Filed 06/10/25   Page 6 of 29
units at a property. Runtime Operation does not mean training

the demand and supply models.

       P.     “Settled Civil Claims” means any civil claim by the

United States arising from Defendant’s conduct accruing before

the filing of the complaint in this action relating to

(1) Revenue Management Products, including RealPage revenue

management products that use competitors’ Competitively

Sensitive Information, as well as (2) communications described

by Paragraph VI.A.

       Q.     “Third-Party” means any Person other than Cortland

(collectively referred to as “Third-Parties”).

III.        APPLICABILITY

       This Final Judgment applies to Defendant, as defined above,

and all other Persons in active concert or participation with

Defendant who receive actual notice of this Final Judgment.

IV.         USE OF PROPRIETARY REVENUE MANAGEMENT PRODUCT(S)

       A.     The Cortland Revenue Management Product must not set

rental prices or generate rental pricing recommendations for a

Cortland Property during its Runtime Operation using

(1) External Nonpublic Data in any way, or (2) Nonpublic Data

from a Cortland Property for another Cortland Property with a

different Property Owner by pooling or combining Nonpublic Data

from Cortland Properties that have different Property Owners.


                                  – 7 –




 Case 1:24-cv-00710-WO-JLW    Document 146-1   Filed 06/10/25   Page 7 of 29
     B.   Defendant must not train the Cortland Revenue

Management Product’s model (1) using External Nonpublic Data in

any way, or (2) by pooling or combining rental pricing,

concessions, discounts, occupancy rates or capacity, or other

rental pricing terms from Cortland Properties with different

Property Owners. For the avoidance of doubt, Defendant is not

prohibited from training its supply and demand models using

pooled or combined Nonpublic Data from across all Cortland

Properties that does not incorporate rental pricing,

concessions, discounts, occupancy rates or capacity, or other

rental pricing terms.

     C.   The Cortland Revenue Management Product must not

disclose in any way Nonpublic Data from a Cortland Property to

any other Property Manager or Property Owner (other than the

Property Owner of the Cortland Property from which the data

arises or relates).

     D.   Within 30 calendar days after the Court’s entry of the

Stipulation and Order in this matter, Defendant must cease all

direct or indirect use of Third-Party Revenue Management

Products used as part of setting rental prices or generating

rental pricing recommendations for any Cortland Property.

     E.   If, during the term of this Final Judgment, management

responsibilities or ownership of a property within the United


                                 – 8 –




 Case 1:24-cv-00710-WO-JLW   Document 146-1   Filed 06/10/25   Page 8 of 29
States or its territories is transferred from another Property

Manager or Property Owner to Defendant, Defendant will have

30 days from the date of transfer to discontinue use of any

Third-Party Revenue Management Product for that property and

transition the transferred property to the Cortland Revenue

Management Product.

V.        RESTRICTIONS CONCERNING USE OF THIRD-PARTY REVENUE

          MANAGEMENT PRODUCT(S)

     A.     Notwithstanding Paragraphs IV.D and IV.E, Defendant

may license or use a Third-Party Revenue Management Product for

a Cortland Property before the expiration of this Final Judgment

as long as Defendant does not:

            1.   license or use, for any Cortland Property, any

Third-Party Revenue Management Product that: (1) uses External

Nonpublic Data in any way to set rental prices or generate

rental pricing recommendations for a Cortland Property; (2) uses

Nonpublic Data from a Cortland Property in any way to set rental

prices or generate rental pricing recommendations for any other

Cortland Property with a different Property Owner or for a non-

Cortland Property; (3) discloses in any way Nonpublic Data from

a Cortland Property to any other Property Manager or Property

Owner (other than the Property Owner of the Cortland property

from which the data arises or relates); (4) pools or combines


                                  – 9 –




 Case 1:24-cv-00710-WO-JLW   Document 146-1   Filed 06/10/25   Page 9 of 29
Nonpublic Data from Cortland Properties that have different

owners; or (5) contains or uses a pricing algorithm that has

been trained using External Nonpublic Data; or

          2.     license or use any Third-Party Revenue Management

Product that: (1) incorporates a rental price floor or a limit

on rental price recommendation decreases (excluding a rental

price floor, or limit on rental price decreases, that Defendant

manually selects and is not based on competing properties’

rental prices); or (2) requires Defendant to accept, or provides

financial rewards for Defendant to accept, any recommended

rental prices.

     B.   Defendant may not agree, either expressly or

implicitly, with any Property Owner of a Non-Cortland Property

or another Property Manager to license or use a particular

Revenue Management Product (or the utilities or functionalities

thereof) or require any other Person to license or use a

particular Revenue Management Product (or the utilities or

functionalities thereof), except that Defendant is not

prohibited from licensing or using a particular Revenue

Management Product at a particular Cortland Property pursuant to

an agreement with another Property Manager who, along with

Defendant, is also managing that particular property on behalf

of a Property Owner.


                                 – 10 –




 Case 1:24-cv-00710-WO-JLW   Document 146-1   Filed 06/10/25   Page 10 of 29
      C.     Before licensing or using a Third-Party Revenue

Management Product, Defendant must first notify the United

States, in writing, of its intention to license or use a Third-

Party Revenue Management Product 30 calendar days prior to using

a Third-Party Revenue Management Product and must secure and

submit to the United States a certification from the proposed

vendor of the Third-Party Revenue Management Product that the

vendor’s product is in compliance with Paragraph V.A of this

Final Judgment.

      D.     If Cortland elects to license or use a Third-Party

Revenue Management Product, Cortland must secure and submit to

the United States, on an annual basis, a certification from any

vendor of a Third-Party Revenue Management Product contracted by

Cortland certifying each vendor’s compliance with Paragraph V.A.

      E.     Defendant must not license or use a Third-Party

Revenue Management Product for any Cortland Property until a

Compliance Monitor has been appointed by the Court in accordance

with Section IX and the Compliance Monitor’s work plan has been

approved by the United States.

VI.        OTHER PROHIBITED CONDUCT

      A.     Defendant must not, directly or indirectly, as part of

setting rental prices or generating rental pricing

recommendations for any Cortland Property (1) disclose Nonpublic


                                 – 11 –




 Case 1:24-cv-00710-WO-JLW   Document 146-1   Filed 06/10/25   Page 11 of 29
Data to any other Property Manager or Property Owner (except to

the Property Owner of the particular Cortland Property);

(2) solicit External Nonpublic Data from any other Property

Manager or Property Owner (except from the Property Owner of the

particular Cortland Property); or (3) use External Nonpublic

Data obtained from another Property Manager or Property Owner

(except from the Property Owner of the particular Cortland

Property). For avoidance of doubt, the restrictions set forth in

this Paragraph include Nonpublic Data obtained through any form

of communication, whether directly or through an intermediary,

including call arounds or market surveys, in-person meetings,

calls, text messages, chat communications, emails, surveys,

spreadsheets, shared documents (e.g., Google documents and

SharePoint documents), industry meetings (e.g., user groups),

online fora, private meetings, Revenue Management Product, or

information-exchange service.

     B.   Defendant must not use or access any External

Nonpublic Data, or data derived from RealPage that used or

relied on External Nonpublic Data, in Defendant’s possession,

custody, or control as of the Court’s entry of the Stipulation

and Order in this matter, acquired through any means. Within

30 calendar days of the Court’s entry of the Stipulation and

Order in this matter, Defendant must identify to the United


                                 – 12 –




 Case 1:24-cv-00710-WO-JLW   Document 146-1   Filed 06/10/25   Page 12 of 29
States in writing the existence and location of any such data

and/or datasets. For avoidance of doubt, the proscriptions in

this Paragraph do not apply to data for Cortland Properties

maintained in OneSite.

VII.        ANTITRUST COMPLIANCE

       A.     Within 30 days of entry of the Stipulation and Order,

Defendant must adopt a written antitrust compliance policy, to

be approved by the United States in its sole discretion, that

complies with the obligations set forth in this Final Judgment.

Defendant must annually train all employees on this written

policy. As part of that policy, Defendant must designate a chief

antitrust compliance officer, who will be responsible for

implementing and enforcing this policy. The chief antitrust

compliance officer will conduct an annual antitrust compliance

audit. The annual audits must, at a minimum, cover:

(1) employees (including supervisors) in Defendant’s

residential-property revenue management group; and (2) a yearly,

randomly selected, local, regional, or supervisory employees who

manage property operations (at least 8 each year).              The chief

antitrust compliance officer will provide the United States with

an annual report identifying all individuals audited.

       B.     On an annual basis during the term of this Final

Judgment, Defendant must submit to the Antitrust Division a


                                   – 13 –




 Case 1:24-cv-00710-WO-JLW    Document 146-1   Filed 06/10/25    Page 13 of 29
certification from the General Counsel of the Defendant

attesting under penalty of perjury that (1) Defendant has

established and maintained the annual antitrust compliance

policy and training required by Paragraph VII.A; (2) Defendant

has provided the Antitrust Division with an annual report

identifying the individuals audited pursuant to Paragraph VII.A;

(3) Cortland’s Revenue Management Product, if used by Defendant,

continues to satisfy the requirements in Section IV;

(4) Cortland has compiled with the requirements in

Paragraph VI.A.

VIII.        COOPERATION

        A.     Defendant must cooperate fully and truthfully with the

United States relating to the Cooperation Subject Matter in any

civil investigation or civil litigation the United States brings

or has brought. Defendant must use their best efforts to ensure

that all current and former officers, directors, employees, and

agents also fully and promptly cooperate with the United States.

Defendant’s cooperation must include:

               1.   as requested on reasonable notice by the

Division, making up to 10 employees available for voluntary

interviews for up to 40 hours total regarding the Cooperation

Subject Matter;




                                  – 14 –




 Case 1:24-cv-00710-WO-JLW    Document 146-1   Filed 06/10/25   Page 14 of 29
             2.   providing full and truthful written or oral

testimony in deposition, trial, or other proceeding relating to

the Cooperation Subject Matter and making witnesses available to

the United States upon reasonable notice before any such

testimony;

             3.   providing proffers, which may be made by counsel

for Defendant, describing Defendant’s knowledge of and evidence

relating to the Cooperation Subject Matter;

             4.   within 30 days of receiving a written request

(whether formal process or informal request) from the United

States for documents, information, or other material relating to

the Cooperation Subject Matter, (or whatever additional time the

Division grants in its sole discretion), producing to the United

States all responsive documents, information, and other

materials, wherever located, not protected under the attorney-

client privilege or the work-product doctrine, in the

possession, custody, or control of Defendant or its agents, as

well as a log of any responsive documents, information, or other

materials that were not provided, including an explanation of

the basis for withholding such materials;

             5.   authenticating or otherwise assisting with

establishing the evidentiary foundation of any documents

Defendant produced or produces to the United States; and


                                 – 15 –




 Case 1:24-cv-00710-WO-JLW   Document 146-1   Filed 06/10/25   Page 15 of 29
             6.   taking all necessary steps to preserve all

documents, information, and other materials relating to the

Cooperation Subject Matter until the United States provides

written notice to Defendant that its obligation to do so has

expired.

      B.     Subject to Defendant’s full, truthful, and continuing

cooperation, as required under Paragraphs VIII.A, Defendant is

fully and finally discharged and released from Settled Civil

Claims.

      C.     Nothing in this Section VIII affects Defendant’s

obligation to respond to any formal discovery requests in

litigation or a civil investigative demand issued by the United

States.

IX.        APPOINTMENT OF MONITOR

      A.     If Defendant elects to license or use a Third-Party

Revenue Management Product at any Cortland Property, or if a

Court finds that Cortland has violated the terms of the Final

Judgment, such as by using External Nonpublic Data in the

Cortland Revenue Management Product Runtime Operation or

training, upon application of the United States, which Defendant

may not oppose, the Court will appoint an independent third-

party antitrust compliance monitor (the “Compliance Monitor”)

selected by the United States and approved by the Court.


                                    – 16 –




 Case 1:24-cv-00710-WO-JLW   Document 146-1   Filed 06/10/25   Page 16 of 29
Defendant may propose to the United States a pool of three

candidates to serve as the Compliance Monitor, and the United

States may consider Defendant’s perspectives on the proposed

candidates or any other candidates identified and considered by

the United States. The United States will retain the ultimate

right, in its sole discretion, either to select the Compliance

Monitor from among the three candidates proposed by Defendant or

to select a different candidate. Once approved, the Compliance

Monitor should be considered by the United States and Defendant

to be an arm and representative of the Court.

     B.   The Compliance Monitor will have the power and

authority to monitor Defendant’s compliance with Section IV and

Paragraphs V.A, VII.A, and VII.B of this Final Judgment,

including by determining whether employees (including

supervisors) in Cortland’s residential-property revenue

management group have complied with their obligations set forth

in those Sections. As part of its monitoring duties, the

Compliance Monitor may also choose, in consultation with the

United States, a yearly selection of other local, regional, or

supervisory employees of Defendant who manage property

operations (not to exceed 15 annually) and investigate whether

those individuals have complied with the obligations set forth

in Paragraphs V.B and VI.A. The Compliance Monitor will have


                                 – 17 –




 Case 1:24-cv-00710-WO-JLW   Document 146-1   Filed 06/10/25   Page 17 of 29
other powers as the Court deems appropriate. The Compliance

Monitor will have no responsibility for operation of the

Defendant’s business. No attorney client relationship will be

formed between Defendant and the Compliance Monitor.

     C.   The Compliance Monitor will have the authority to take

such steps as, in the Compliance Monitor’s discretion and the

United States’ view, may be necessary to accomplish the

Compliance Monitor’s responsibilities. The Compliance Monitor

may seek information from Defendant’s personnel, including in-

house counsel, compliance personnel, and internal auditors.

Defendant will annually communicate to all employees that

employees may disclose any information to the Compliance Monitor

without reprisal for such disclosure. Defendant must not

retaliate against any employee or third party for disclosing

information to the Compliance Monitor.

     D.   Defendant may not object to actions taken by the

Compliance Monitor in fulfillment of the Compliance Monitor’s

responsibilities under any Order of the Court on any ground

other than malfeasance by the Compliance Monitor. Disagreements

between the Compliance Monitor and Defendant related to the

scope of the Compliance Monitor’s responsibilities do not

constitute malfeasance. Objections by Defendant must be conveyed

in writing to the United States and the Compliance Monitor


                                 – 18 –




 Case 1:24-cv-00710-WO-JLW   Document 146-1   Filed 06/10/25   Page 18 of 29
within 10 calendar days of the Compliance Monitor’s action that

gives rise to Defendant’s objection, or else Defendant will have

waived any such objections.

     E.   The monitor will serve at the cost and expense of

Defendant pursuant to a written agreement, on terms and

conditions, including confidentiality requirements and conflict

of interest certifications, approved by the United States in its

sole discretion. If the Compliance Monitor and Defendant are

unable to reach such a written agreement within 14 calendar days

of the Court’s appointment of the monitor, or if the United

States, in its sole discretion, declines to approve the proposed

written agreement, the United States, in its sole discretion,

may take appropriate action, including making a recommendation

as to the Compliance Monitor’s costs and expenses to the Court,

which may set the terms and conditions for the Compliance

Monitor’s costs and expenses.

     F.   The Compliance Monitor may hire, at the cost and

expense of Defendant, any agents and consultants, including

investment bankers, attorneys, and accountants, that are

reasonably necessary in the Compliance Monitor’s judgment to

assist with the Compliance Monitor’s duties. These agents or

consultants will be directed by and solely accountable to the

Compliance Monitor and will serve on terms and conditions,


                                 – 19 –




 Case 1:24-cv-00710-WO-JLW   Document 146-1   Filed 06/10/25   Page 19 of 29
including confidentiality requirements and conflict-of-interest

certifications, approved by the United States in its sole

discretion. Within three business days of hiring any agents or

consultants, the Compliance Monitor must provide written notice

of the hiring and the rate of compensation to Defendant and the

United States.

     G.   The Compliance Monitor must provide yearly reports to

the United States, with the first report due six months after

the Compliance Monitor is appointed and subsequent reports due

yearly thereafter, setting forth Defendant’s efforts to comply

with its obligations under this Final Judgment. If the

Compliance Monitor learns of any potential violation of the

Final Judgment by Defendant’s officers, employees, or agents,

the Compliance Monitor must promptly disclose to the Antitrust

Division the nature and extent of any such potential violation

and the Antitrust Division may require, in its sole discretion

and without prejudice to any other remedy available for any

violation of the Final Judgment, that the Compliance Monitor

conduct additional investigation of compliance with this Final

Judgment beyond any limits set forth in Paragraph IX.B.

     H.   The Compliance Monitor must account for all costs and

expenses incurred. The compensation of the Compliance Monitor

and agents or consultants retained by the Compliance Monitor


                                 – 20 –




 Case 1:24-cv-00710-WO-JLW   Document 146-1   Filed 06/10/25   Page 20 of 29
must be on reasonable and customary terms commensurate with the

individuals’ experience and responsibilities.

     I.   Defendant’s failure to promptly pay the Compliance

Monitor’s accounted-for costs and expenses, including for agents

and consultants, will constitute a violation of this Final

Judgment and may result in sanctions imposed by the Court. If

Defendant disputes any part of the Compliance Monitor’s

accounted-for costs and expenses, Defendant must establish an

escrow account into which Defendant must pay the disputed costs

and expenses until the dispute is resolved.

     J.   Defendants must use best efforts to cooperate fully

with the Compliance Monitor and to assist the Compliance Monitor

to monitor Defendants’ compliance with their obligations under

this Final Judgment. Subject to reasonable protection for trade

secrets, other confidential research, development, or commercial

information, or any applicable privileges, Defendant must

provide the Compliance Monitor and agents or consultants

retained by the Compliance Monitor with full and complete access

to all personnel (current and former), agents, consultants,

books, records, and facilities. Defendant may not take any

action to interfere with or to impede accomplishment of the

Compliance Monitor’s responsibilities.




                                 – 21 –




 Case 1:24-cv-00710-WO-JLW   Document 146-1   Filed 06/10/25   Page 21 of 29
     K.     If the United States determines that the Compliance

Monitor is not acting diligently or in a reasonably cost-

effective manner, or if the Compliance Monitor becomes unable to

continue in their role for any reason, the United States may

recommend that the Court appoint a substitute.

     L.     Once appointed by the Court, the Compliance Monitor

will serve until the expiration of the Final Judgment.

X.        COMPLIANCE INSPECTION

     A.     For the purposes of determining or securing compliance

with this Final Judgment or of related orders such as the

Stipulation and Order entered in this matter or of determining

whether this Final Judgment should be modified or vacated, upon

written request of an authorized representative of the Assistant

Attorney General for the Antitrust Division, and reasonable

notice to Defendant, Defendant must permit, from time to time

and subject to legally recognized privileges, authorized

representatives, including agents retained by the United States:

            1.   to have access during Defendant’s office hours to

inspect and copy, or at the option of the United States, to

require Defendant to provide electronic copies of all books,

ledgers, accounts, records, data, and documents in the

possession, custody, or control of Defendant relating to any

matters contained in this Final Judgment; and


                                  – 22 –




 Case 1:24-cv-00710-WO-JLW   Document 146-1   Filed 06/10/25   Page 22 of 29
             2.   to interview, either informally or on the record,

Defendant’s officers, employees, or agents, who may have their

individual counsel present, relating to any matters contained in

this Final Judgment. The interviews must be subject to the

reasonable convenience of the interviewee and without restraint

or interference by Defendant.

      B.     Upon request of the United States, Defendant must

provide documents sufficient to show how Cortland’s Revenue

Management Product is trained and how it determines prices for

Cortland Properties during its Runtime Operation, and changes to

these processes.

      C.     The United States will have the right to obtain and

inspect at an Antitrust Division office, or at another location

at the Division’s discretion, the code and pseudocode of the

Cortland Revenue Management Product to ensure compliance with

Section IV. Cortland will be responsible for the costs and

expenses associated with said inspection once annually.

XI.        PUBLIC DISCLOSURE

      A.     No information or documents obtained pursuant to any

provision or this Final Judgment, including reports the

Compliance Monitor provides to the United States pursuant to

Paragraph IX.G, may be divulged by the United States or the

Compliance Monitor to any person other than an authorized


                                   – 23 –




 Case 1:24-cv-00710-WO-JLW     Document 146-1   Filed 06/10/25   Page 23 of 29
representative of the executive branch of the United States,

except in the course of legal proceedings to which the United

States is a party, including grand-jury proceedings, or as

otherwise required by law.

     B.   In the event that the Compliance Monitor should

receive a subpoena, court order, or other court process seeking

production of information or documents obtained pursuant to any

provision in this Final Judgment, including reports the

Compliance Monitor provides to the United States pursuant to

Paragraph IX.G, the Compliance Monitor must notify Defendant

immediately and prior to any disclosure, so that Defendant may

address such potential disclosure and, if necessary, pursue

alternative legal remedies, including intervention in the

relevant proceedings.

     C.   In the event of a request by a third party, pursuant

to the Freedom of Information Act, 5 U.S.C. § 552, for

disclosure of information obtained pursuant to any provision of

this Final Judgment, the Antitrust Division will act in

accordance with that statute, and the Department of Justice

regulations at 28 C.F.R. part 16, including the provision on

confidential commercial information, at 28 C.F.R. § 16.7.

Defendant, when submitting information to the Antitrust

Division, should designate the confidential commercial


                                 – 24 –




 Case 1:24-cv-00710-WO-JLW   Document 146-1   Filed 06/10/25   Page 24 of 29
information portions of all applicable documents and information

under 28 C.F.R. § 16.7. Designations of confidentiality expire

10 years after submission, “unless the submitter requests and

provides justification for a longer designation period.” See

28 C.F.R. § 16.7(b).

       D.     If at the time that Defendant furnishes information or

documents to the United States pursuant to any provision of this

Final Judgment, Defendant represents and identifies in writing

information or documents for which a claim of protection may be

asserted under Rule 26(c)(1)(G) of the Federal Rules of Civil

Procedure, and the Defendant marks each pertinent page of such

material, “Subject to claim of protection under Rule 26(c)(1)(G)

of the Federal Rules of Civil Procedure,” the United States must

give Defendant 10 calendar days’ notice before divulging the

material in any legal proceeding (other than a grand jury

proceeding).

XII.        RETENTION OF JURISDICTION

       The Court retains jurisdiction to enable any party to this

Final Judgment to apply to the Court at any time for further

orders and directions as may be necessary or appropriate to

carry out or construe this Final Judgment, to modify any of its

provisions, to enforce compliance, and to punish violations of

its provisions.


                                  – 25 –




 Case 1:24-cv-00710-WO-JLW    Document 146-1   Filed 06/10/25   Page 25 of 29
XIII.        ENFORCEMENT OF FINAL JUDGMENT

        A.     The United States retains and reserves all rights to

enforce the provisions of this Final Judgment, including the

right to seek an order of contempt from the Court. Defendant

agrees that in a civil contempt action, a motion to show cause,

or a similar action brought by the United States relating to an

alleged violation of this Final Judgment, the United States may

establish a violation of this Final Judgment and the

appropriateness of a remedy therefor by a preponderance of the

evidence, and Defendant waives any argument that a different

standard of proof should apply.

        B.     This Final Judgment should be interpreted to give full

effect to the procompetitive purposes of the antitrust laws and

to restore the competition the United States alleges was harmed

by the challenged conduct. Defendant agrees that it may be held

in contempt of, and that the Court may enforce, any provision of

this Final Judgment that, as interpreted by the Court in light

of these procompetitive principles and applying ordinary tools

of interpretation, is stated specifically and in reasonable

detail, whether or not it is clear and unambiguous on its face.

In any such interpretation, the terms of this Final Judgment

should not be construed against either party as the drafter.




                                   – 26 –




 Case 1:24-cv-00710-WO-JLW     Document 146-1   Filed 06/10/25   Page 26 of 29
     C.    In an enforcement proceeding in which the Court finds

that Defendant has violated this Final Judgment, the United

States may apply to the Court for an extension of this Final

Judgment, together with other relief that may be appropriate. In

connection with a successful effort by the United States to

enforce this Final Judgment against Defendant, whether litigated

or resolved before litigation, Defendant agrees to reimburse the

United States for the fees and expenses of its attorneys, as

well as all other costs including experts’ fees, incurred in

connection with that effort to enforce this Final Judgment,

including in the investigation of the potential violation.

     D.    For a period of four years following the expiration of

this Final Judgment, if the United States has evidence that

Defendant violated this Final Judgment before it expired, the

United States may file an action against Defendant in this Court

requesting that the Court order: (1) Defendant to comply with

the terms of this Final Judgment for an additional term of at

least four years following the filing of the enforcement action;

(2) all appropriate contempt remedies; (3) additional relief

needed to ensure Defendant complies with the terms of this Final

Judgment; and (4) fees or expenses as called for by this

Section.




                                 – 27 –




 Case 1:24-cv-00710-WO-JLW   Document 146-1   Filed 06/10/25   Page 27 of 29
XIV.     EXPIRATION OF FINAL JUDGMENT

       Unless the Court grants an extension, this Final Judgment

will expire 4 years from the date of its entry, except that

after two years from the date of its entry, this Final Judgment

may be terminated upon notice by the United States to the Court

and Defendant that the continuation of this Final Judgment is no

longer necessary or in the public interest.

XV.      RESERVATION OF RIGHTS

       The Final Judgment relates only to the resolution of the

Settled Civil Claims. The United States reserves all rights for

any other claims against Defendant that may be brought in the

future. The entry of the Final Judgment does not limit the

ability of any non-settling attorney general of any State to

bring or maintain any action under federal or state law against

Defendant.

XVI.     PUBLIC INTEREST DETERMINATION

       Entry of this Final Judgment is in the public interest. The

parties have complied with the requirements of the Antitrust

Procedures and Penalties Act, 15 U.S.C. § 16, including by

making available to the public copies of this Final Judgment and

the Competitive Impact Statement, public comments thereon, and

any response to comments by the United States. Based upon the

record before the Court, which includes the Competitive Impact


                                 – 28 –




 Case 1:24-cv-00710-WO-JLW   Document 146-1   Filed 06/10/25   Page 28 of 29
Statement and, if applicable, any comments and response to

comments filed with the Court, entry of this Final Judgment is

in the public interest.

     It is SO ORDERED.



Date: __________________




                                 ____
                                     United States District Judge




                                 – 29 –




 Case 1:24-cv-00710-WO-JLW   Document 146-1   Filed 06/10/25   Page 29 of 29
